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                   EXHIBIT 22
          Case 3:17-cv-00072-NKM-JCH Document 674-22 Filed 03/11/20 Page 2 of 4 Pageid#:
  Filed by Corporations Division Administrator Filing 9556
                                                      Number: 201972926660 Date: 05/31/2019




                                                                                                                       Form Revision Date 07/2000

  CERTIFICATE OF CHANGE OF REGISTERED OFFICE AND/OR RESIDENT AGENT
                                             For use by DOMESTIC NONPROFIT CORPORATION
  Pursuant to the provisions of Act 162, Public Acts of 1982 (nonprofit corporations) the undersigned executes the following Certificate:

The identification number assigned by the Bureau is:                               800918876
The name of the corporation is:                                                    NATIONAL SOCIALIST MOVEMENT


The name of the resident agent on file with the Bureau is :                        ACACIA DIETZ
The location of the registered office on file with the Bureau is:                  11246 DODGE AVE ,WARREN, MI,
                                                                                   48089
The mailing address of the above office on file with the Bureau is:                PO BOX 13768, DETROIT, MI,
                                                                                   48213

Enter in Item A the information as it should now appear on the public record.
A.The street address of the registered office and the name of the resident agent at the registered office (P.O. Boxes are not acceptable):
 Agent Name:                JAMES HART STERN
Street Address:              120 N WASHINGTON
  Apt/Suite/Other:
  City:                      LANSING
  State:                     MI                                                 Zip Code: 48213

Registered Office Mailing Address:
   P.O. Box or Street
                             120 N WASHINGTON
   Address:
   Apt/Suite/Other:
   City:                     LANSING
   State:                    MI                                                 Zip Code: 48213


The above changes were authorized by resolution duly adopted by: 1. ALL CORPORATIONS: its Board of Directors or the resident agent if
only the address of the registered office is changed, in which case a copy of this statement has been mailed to the corporation.

2.NONPROFIT CORPORATIONS ONLY: the incorporators, only if no board has been appointed. 3. LIMITED LIABILITY COMPANIES: an
operating agreement, affirmative vote of a majority of the members pursuant to section 502(1), managers pursuant to section 405, or
the resident agent if only the address of the registered office is changed.


The corporation or limited liability company further states that the address of its registered office and the address of its resident agent
as changed, are identical.



This document must be signed by an authorized officer or agent (corporations) or a member, manager, or an authorized agent (limited
liability companies).
Signed this 30th Day of May, 2019 by:



 James Hart Stern                                                   President
 James Hart Stern                                                   Treasurer
 James Hart Stern                                                   Secretary
 James Hart Stern                                                   Incorporator
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By selecting ACCEPT, I hereby acknowledge that this electronic document is being signed in accordance with the Act. I further certify
that to the best of my knowledge the information provided is true, accurate, and in compliance with the Act.
                                                         Decline
                                                        
                                                        
                                                        
                                                                        Accept
                                                                        
                                                                        
                                                                        
                                                                        
                                                                        
        Case 3:17-cv-00072-NKM-JCH Document 674-22 Filed 03/11/20 Page 4 of 4 Pageid#:
Filed by Corporations Division Administrator Filing 9558
                                                    Number: 201972926660 Date: 05/31/2019



   MICHIGAN DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS

                                    FILING ENDORSEMENT


  This is to Certify that the   CERTIFICATE OF CHANGE OF REGISTERED OFFICE AND/OR
                                RESIDENT AGENT
                                                for


   NATIONAL SOCIALIST MOVEMENT

                                                ID Number:        800918876




  received by electronic transmission on        May 30, 2019         , is hereby endorsed.

  Filed on     May 31, 2019         , by the Administrator


  The document is effective on the date filed, unless a subsequent effective date within 90 days after
  received date is stated in the document.




                                                       In testimony whereof, I have hereunto set my
                                                       hand and affixed the Seal of the Department,
